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                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


  CLIFFORD MCARTHUR RIGSBEE, as     )          Civ. No. 17-00532 HG-RT
  Personal Representative of the    )
  Estate of Clifford Meredith       )
  Rigsbee, deceased,                )
                                    )
                 Plaintiff,         )
                                    )
            vs.                     )
                                    )
  CITY AND COUNTY OF HONOLULU,      )
                                    )
                 Defendant.         )
 ___________________________________)
   ORDER DENYING DEFENDANT CITY AND COUNTY OF HONOLULU’S MOTION IN
  LIMINE NO. 5 TO EXCLUDE OR LIMIT THE LINE-OF-DEATH INVESTIGATION
                         REPORT (ECF No. 146)


        Defendant’s Motion in Limine No. 5 seeks to preclude the

  admission of the Honolulu Fire Department’s April 13, 2017 Line-

  of-Duty Death Investigation Report, marked as Trial Exhibit 1.

        Defendant asserts that the Investigation Report is not

  admissible pursuant to Fed. R. Evid. 407 as it contains evidence

  of subsequent remedial measures.

        Plaintiff does not oppose exclusion of the majority of the

  Recommendations section of the Investigation Report.

        Plaintiff opposes the exclusion of the Report’s analysis,

  fact-finding, and conclusions as they are not barred by Fed. R.

  Evid. 407.

        Defendant’s Motion in Limine No. 5 (ECF No. 146) is DENIED.


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        The Court finds that the Line-of-Duty Death Investigation

  Report, marked as Trial Exhibit 1, is ADMISSIBLE as to pages 1-13

  and pages 18-32.

        The Recommendations section on pages 14-17 of the Line-of-

  Duty Death Investigation Report is precluded from being

  introduced at trial.

        Plaintiff had requested that two portions of the

  Recommendations Section be admitted, specifically the finding

  that “[t]he following activities have been identified as

  hazardous activities related to the [Rescue Watercraft] Program:

        •    Operating the [rescue watercraft] near or over waves

             and/or swells

        •    Operating with a 2nd person on the [rescue watercraft],

             specifically on the rescue sled.”

        The Court declines to admit this portion of the Report as it

  is contained in the Recommendations Section.

        Plaintiff may develop its theory and inquire through

  testimony at trial as to what activities have been identified by

  the Honolulu Fire Department as hazardous as they are related to

  the Rescue Watercraft Program.


                             STANDARD OF REVIEW


        Federal Rule of Evidence 407 provides:

        When measures are taken that would have made an earlier
        injury or harm less likely to occur, evidence of the

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        subsequent measures is not admissible to prove:

        •     negligence;

        •     culpable conduct;

        •     a defect in a product or its design; or

        •     a need for a warning or instruction.

        But the court may admit this evidence for another
        purpose, such as impeachment or—if disputed—providing
        ownership, control, or the feasibility of precautionary
        measures.

        Fed. R. Evid. 407.

                                   ANALYSIS

  I.    Line-Of-Duty Death Investigation Report


        On June 14, 2016, the decedent, Clifford Meredith Rigsbee,

  was engaged in rescue watercraft training as part of his duties

  as a firefighter with the Honolulu Fire Department.          During the

  ocean training, the decedent suffered blunt force injury to his

  head and neck.    He died two days later as a result of his

  injuries.

        Following the accident, the Honolulu Fire Department

  conducted a Line-of-Duty Death Investigation Report, dated April

  13, 2017.    (LODD Report, Trial Exhibit 1).

        The report was prepared by Honolulu Fire Department

  Battalion Chief Ryan Young on behalf of the Fire Department

  Occupational Safety and Health Office.        (Id. at p. 32).

  Battalion Chief Young was assisted by Battalion Chief Daryl


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  Evangelista from Fire Operations, Safety Specialist Paul Sugita

  from the Occupational Safety and Health Office, and Captain

  Christopher Cabasa from the Occupational Safety and Health

  Office.   (Id.)

        The report was based on a review of radio transmission

  recordings, witness interviews, site visits to the accident

  location, a review of medical records, weather reports, personnel

  files, and the Honolulu Fire Department’s policies and

  procedures.    (LODD Report, Trial Exhibit 1).

        The report includes photographs and various sections

  including: Timeline of Events, the Honolulu Fire Department’s

  Internal Investigation, Investigation Findings, Key Contributing

  Factors, Other Incident Factors, Defining Unacceptable Risks, and

  Recommendations.


  II.   The April 13, 2017 Line-Of-Duty Death Investigation Report
        Is Admissible Except For The Recommendations Set Forth In
        The Report


        The doctrine of subsequent remedial measures does not extend

  to internal investigations.       In re Aircrash in Bali, Indonesia,

  871 F.2d 812, 817 n.2 (9th Cir. 1989) (per curiam); Gray v.

  Golden Gate Nat. Recreational Area, 866 F.Supp.2d 1129, 1141

  (N.D. Cal. 2011).     Subsequent remedial measures include only the

  actual remedial measures themselves and not the initial steps

  toward ascertaining if a remedial measure is required.           In re


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  Aircrash, 871 F.3d at 817 n.2.

        Internal investigations and reports that are created to

  determine if a remedial measure is required do not fall within

  the scope of Rule 407 because they are not themselves remedial

  measures.    Aranda v. City of McMinnville, 942 F.Supp.2d 1096,

  1103 (D. Or. 2013).

        Plaintiff agrees that the majority of the Recommendations

  section of the Line-of-Duty Death Report could constitute

  subsequent remedial measures and therefore should be excluded

  pursuant to Fed. R. Evid. 407; see Maddox v. City of L.A., 792

  F.2d 1408, 1417 (9th Cir. 1986).

        The remaining sections of the Line-of-Duty Death Report do

  not constitute subsequent remedial measures.         The sections

  provide factual background, opinions, and analysis as to what

  happened during the actual events at issue in the case.            The

  sections do not describe subsequent remedial measures that the

  Defendant City and County of Honolulu implemented as a result of

  the accident.

        A defendant’s self analysis of deficiencies does not

  constitute subsequent remedial measures for purposes of Fed. R.

  Evid. 407.    Gray, 866 F.Supp.2d at 1141; Dowling v. Am. Hawaii

  Cruises, Inc., 971 F.2d 423, 427 (9th Cir. 1992).




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                                  CONCLUSION


        Defendant’s Motion in Limine No. 5 (ECF No. 146) is DENIED.

        The Line-of-Duty Death Investigation Report, marked as Trial

  Exhibit 1, is ADMISSIBLE as to pages 1-13 and pages 18-32.

        The Recommendations section on pages 14-17 of the Line-of-

  Duty Death Investigation Report is precluded from being

  introduced at trial.

        IT IS SO ORDERED.

        Dated: March 6, 2019, Honolulu, Hawaii.




  Clifford McArthur Rigsbee as Personal Representative of the
  Estate of Clifford Meredith Rigsbee, deceased v. City and County
  of Honolulu; Civ. No. 17-00532 HG-RT; ORDER DENYING DEFENDANT
  CITY AND COUNTY OF HONOLULU’S MOTION IN LIMINE NO. 5 TO EXCLUDE
  OR LIMIT THE LINE-OF-DEATH INVESTIGATION REPORT (ECF No. 146)
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